            Case 1:21-cv-02067-SHS Document 1 Filed 03/10/21 Page 1 of 13




                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF NEW YORK


 PETER VOTTO,                                        Case No.:

                Plaintiff,
                                                     JURY TRIAL DEMANDED
        v.

 ALEXION PHARMACEUTICALS,INC.,                       COMPLAINT FOR VIOLATIONS OF
 DAVID R. BRENNAN, CHRISTOPHER J.                    FEDERAL SECURITIES LAWS
 COUGHLIN, DEBROAH DUNSIRE, PAUL
 A. FRIEDMAN, LUDWIG N. HANTSON,
 JOHN T. MOLLEN, FRANCOIS NADER,
 JUDITH A. REINSDORF, and ANDREAS
 RUMMELT,

                Defendants.


        Plaintiff, by his undersigned attorneys, for this complaint against defendants, alleges

 upon personal knowledge with respect to himself, and upon information and belief based upon,

 inter alia, the investigation of counsel as to all other allegations herein, as follows:

                                         BACKGROUND

       1.        This action concerns a proposed transaction (“Proposed Transaction”)

announced on December 12, 2020, pursuant to which Alexion Pharmaceuticals, Inc. (“Alexion”

or the “Company”) will merge with AstraZeneca PLC (“AstraZeneca”).

       2.        On December 12, 2020, Alexion Pharmaceutical’s Board of Directors (the

“Board” or “Individual Defendants”) caused the Company to enter into an agreement and plan of

merger and reorganization (the “Merger Agreement”). Pursuant to the terms of the Merger

Agreement, each share of Alexion common stock will be converted into approximately 2.1243

AstraZeneca American Depositary Shares and $60 in cash (the “Merger Consideration”).

       3.        On February 19, 2021, in order to convince Alexion’s shareholders to vote in
            Case 1:21-cv-02067-SHS Document 1 Filed 03/10/21 Page 2 of 13




favor of the Proposed Transaction, Defendants filed a materially incomplete and misleading

preliminary F-4 Registration Statement (the “Registration Statement”) with the United States

Securities and Exchange Commission (“SEC”).

       4.        The Registration Statement omits material information with respect to the

Proposed Transaction, which renders the Registration Statement false and misleading.

Accordingly, Plaintiff alleges herein that defendants violated Sections 14(a) and 20(a) of the

Securities Exchange Act of 1934 (the “1934 Act”) in connection with the Registration Statement.

       5.        In addition, a special meeting of Alexion stockholders will be held to vote on

the Proposed Transaction (the “Stockholder Vote”). It is therefore imperative that the material

information that has been omitted from the Registration Statement is disclosed prior to the

Stockholder Vote so Alexion stockholders can properly exercise their corporate voting rights and

make an informed decision on whether to vote in favor of the merger.

                                   JURISDICTION & VENUE

       6.        This Court has jurisdiction over the claims asserted herein pursuant to Section

27 of the 1934 Act and 28 U.S.C. §1331 because the claims asserted herein arise under Sections

14(a) and 20(a) of the 1934 Act and Rule 14a-9.

       7.        This Court has jurisdiction over Defendants because each defendant is either a

corporation that conducts business in this District, or is an individual with sufficient minimum

contacts with this District so as to make the exercise of jurisdiction by this Court permissible

under traditional notions of fair play and substantial justice.

       8.        Venue is proper in this District under Section 27 of the Exchange Act, 15 U.S.C.

§ 78aa, as well as under 28 U.S.C. § 1391, because, among other things: (a) the conduct at issue

will have an effect in this District; (b) a substantial portion of the transactions and wrongs



                                                  2
            Case 1:21-cv-02067-SHS Document 1 Filed 03/10/21 Page 3 of 13




complained of herein, occurred in this District; and (c) certain Defendants have received

substantial compensation in this District by doing business here and engaging in numerous

activities that had an effect in this District. Additionally, the Company’s common stock trades

on the NASDAQ, which is headquartered in this District.

                                         THE PARTIES

       9.        Plaintiff is, and has been continuously throughout all times relevant hereto, an

Alexion shareholder.

       10.       Defendant Alexion is a Delaware corporation and a party to the Merger

Agreement. Alexion shares are traded on the NASDAQ under the ticker symbol “ALXN.”

       11.       Defendant David R. Brennan is Chairman of the Board of the Company.

       12.       Defendant Christopher J. Coughlin is a director of the Company.

       13.       Defendant Deborah Dunsire is a director of the Company.

       14.       Defendant Paul A. Friedman is a director of the Company.

       15.       Defendant Ludwig N. Hantson is a Chief Executive Officer and a director

of the Company.

       16.       Defendant John T. Mollen is a director of the Company.

       17.       Defendant Francois Nader is a director of the Company.

       18.       Defendant Judith A. Reinsdorf is a director of the Company.

       19.       Defendant Andreas Rummelt is a director of the Company.

                                             FACTS

       20.      Alexion is a global biopharmaceutical company focused on serving patients and

families affected by rare diseases and devastating conditions through the discovery, development

and commercialization of life-changing medicines. Alexion has developed and commercializes



                                                3
          Case 1:21-cv-02067-SHS Document 1 Filed 03/10/21 Page 4 of 13




two approved complement inhibitors to treat patients with paroxysmal nocturnal hemoglobinuria

(PNH) and atypical hemolytic uremic syndrome (aHUS), as well as the first and only approved

complement inhibitor to treat anti-acetylcholine receptor (AChR) antibody-positive generalized

myasthenia gravis (gMG) and neuromyelitis optica spectrum disorder (NMOSD) in patients who

are anti-aquaporin-4 (AQP4) antibody positive.

       20 .   AstraZeneca is a global, science-led biopharmaceutical company that focuses on

the discovery, development and commercialization of prescription medicines, primarily for the

treatment of diseases in three therapy areas—Oncology, Cardiovascular, Renal & Metabolism, and

Respiratory & Immunology. Based in Cambridge, UK, AstraZeneca operates in over 100 countries

and its innovative medicines are used by millions of patients worldwide.

       21.      On December 12, 2020, Alexion’s Board caused the Company to enter into the

Merger Agreement.

       22.      The Merger Agreement provides that Delta Omega Sub Holdings Inc. 1 (“Merger

Sub I”), a Delaware corporation and a direct, wholly owned Subsidiary of Delta Omega Sub

Holdings Inc., a Delaware corporation and a wholly owned Subsidiary of AstraZeneca (“Bidco”)

will merge with and into Alexion with Alexion surviving, and (2) immediately thereafter, Alexion

will merge with and into Delta Omega Sub Holdings LLC 2 (“Merger Sub II”), a Delaware limited

liability company and a direct, wholly owned Subsidiary of Bidco, with Merger Sub II surviving

as a wholly owned direct subsidiary of Bidco

       23.      At the Effective Time (as defined in the Merger Agreement), and as a result of the

Merger:

       other than (i) shares of Company Common Stock to be cancelled or converted
       pursuant to Section 2.03(b) and (ii) Dissenting Shares (such shares together with
       the shares of Company Common Stock to be cancelled or converted pursuant
       to Section 2.03(b), collectively, the "Excluded Shares"), each share of Company


                                                 4
            Case 1:21-cv-02067-SHS Document 1 Filed 03/10/21 Page 5 of 13



          Common Stock outstanding immediately prior to the First Effective Time shall be
          converted into, and shall thereafter represent only, the right to receive, (A) 2.1243
          (the "Exchange Ratio") Parent ADSs (the "Share Consideration"), subject
          to Section 2.09 with respect to fractional Parent ADSs, and (B) $60.00 in cash
          without interest (the "Cash Consideration" and, together with the Share
          Consideration, the "Merger Consideration") and, immediately following such
          conversion, shall be automatically cancelled and cease to exist (the "Cancellation")

          24.      The Merger Consideration is unfair because, among other things, the intrinsic

value of the Company is in excess of the amount the Company’s stockholders will receive in

connection with the Proposed Transaction.

          25.      It is therefore imperative that the Company shareholders receive the material

information that Defendants have omitted from the Registration Statement so that they can

meaningfully assess whether the Proposed Transaction is in their best interests prior to the vote.

          26.      Section 6.02 of the Merger Agreement has a “no solicitation” clause that prevents

Alexion from soliciting alternative proposals and constraints its ability to negotiate with potential

buyers:

          Section 6.02     No Solicitation by Company.

          From the date of this Agreement until the earlier of the First Effective Time and the
          termination of this Agreement, except as otherwise set forth in this Section 6.02,
          the Company shall not, and shall cause its Subsidiaries and its and its Subsidiaries'
          respective directors and officers to not, and shall use its reasonable best efforts to
          cause its and its Subsidiaries' other respective Representatives to not, directly or
          indirectly, (i) solicit, initiate, knowingly facilitate or knowingly encourage
          (including by way of furnishing information) any inquiries regarding, or the making
          or submission of any Company Acquisition Proposal, (ii) (A) enter into or
          participate in any discussions or negotiations regarding, (B) furnish to any Third
          Party any information, or (C) otherwise assist, participate in, knowingly facilitate
          or knowingly encourage any Third Party, in each case, in connection with or for the
          purpose of knowingly encouraging or facilitating, a Company Acquisition
          Proposal, (iii) approve, recommend or enter into, or publicly or formally propose
          to approve, recommend or enter into, any letter of intent or similar document,
          agreement, commitment, or agreement in principle (whether written or oral,
          binding or nonbinding) with respect to a Company Acquisition Proposal, (iv) (A)
          withdraw or qualify, amend or modify in any manner adverse to Parent the
          Company Board Recommendation, (B) fail to include the Company Board
          Recommendation in the Proxy Statement/Prospectus or (C) recommend, adopt or


                                                    5
         Case 1:21-cv-02067-SHS Document 1 Filed 03/10/21 Page 6 of 13




       approve or publicly propose to recommend, adopt or approve any Company
       Acquisition Proposal (any of the foregoing in this clause (iv), a "Company Adverse
       Recommendation Change") or (v) take any action to make any "moratorium",
       "control share acquisition", "fair price", "supermajority", "affiliate transactions" or
       "business combination statute or regulation" or other similar anti-takeover laws and
       regulations of the State of Delaware, including Section 203 of the DGCL,
       inapplicable to any Third Party or any Company Acquisition Proposal.

       27.    In addition, Section 10.3 of the Merger Agreement requires Alexion to pay up to a

$1,180,000,000 “termination fee” in the event this agreement is terminated by Alexion and

improperly constrains the Company from obtaining a superior offer. Such a termination fee is

excessive and unduly restrictive to Alexion’s ability to consider other offers.

       28.      Defendants filed the Registration Statement with the SEC in connection with the

Proposed Transaction.

       29.      As alleged herein, the Registration Statement omits material information with

respect to the Proposed Transaction, which renders the Registration Statement false and

misleading.

       30.      First, the Registration Statement omits material information regarding Alexion’s

and AstraZeneca’s financial projections.

       31.      With respect to Alexion’s financial projections, the Registration Statement fails to

disclose all line items used to calculate Non-GAAP Operating Income (Post-SBC), Tax-Effected

EBIT, Unlevered Free Cash Flow, Non-GAAP EPS (Pre-SBC), Gross Profit, Operating Profit, and

Non-GAAP Net Income. The Registration Statement also fails to disclose a reconciliation of all

non-GAAP to GAAP metrics.

       32.      With respect to AstraZeneca’s financial projections, the Registration Statement

fails to disclose all line items used to calculate Core EBIT, Unlevered Free Cash Flow, and Core

EPS. The Registration Statement also fails to disclose a reconciliation of all non-GAAP to GAAP


                                                 6
           Case 1:21-cv-02067-SHS Document 1 Filed 03/10/21 Page 7 of 13




metrics.

       33.      The disclosure of projected financial information is material information

necessary for stockholders to gain an understanding of the basis for any projections as to the future

financial performance of the combined company. In addition, this information is material and

necessary for stockholders to understand the financial analyses performed by the companies’

financial advisors rendered in support of any fairness opinion.

       34.      Second, the Registration Statement omits material information regarding the

analyses performed by the Company’s financial advisors BofA Securities, Inc. (“BofA”) in

connection with the Proposed Transaction.

       35.      With respect to BofA’s Selected Publicly Traded Companies Analysis for Alexion,

the Registration Statement fails to disclose the individual multiples and metrics for the companies

observed in the analysis. This information must be disclosed to make the Registration Statement

not materially misleading to Alexion stockholders and provide stockholders with full and relevant

information in considering how to vote.

       36.      With respect to BofA’s Selected Precedent Transactions Analysis for Alexion, the

Registration Statement fails to disclose the individual multiples and metrics for the transactions

observed in the analysis. This information must be disclosed to make the Registration Statement

not materially misleading to Alexion stockholders and provide stockholders with full and relevant

information in considering how to vote.

       37.      With respect to BofA’s Discounted Cash Flow Analysis for Alexion, the

Registration Statement fails to include: (i) Alexion management’s basis to direct that the analysis

assume no cash flows or terminal value for Alexion beyond 2040, (ii) the individual inputs and

assumptions underlying the discount rates ranging from 7.0% to 9.5%; (iii) Alexion's weighted


                                                 7
         Case 1:21-cv-02067-SHS Document 1 Filed 03/10/21 Page 8 of 13




average cost of capital, (iv) Alexion's net debt as of September 30, 2020, and (v) the number of

fully-diluted shares of Alexion common stock outstanding. This information must be disclosed to

make the Registration Statement not materially misleading to Alexion stockholders and provide

stockholders with full and relevant information in considering how to vote.

       38.      With respect to BofA’s Selected Publicly Traded Companies Analysis for

AstraZeneca, the Registration Statement fails to disclose the individual multiples and metrics for

the companies observed in the analysis.        This information must be disclosed to make the

Registration Statement not materially misleading to Alexion stockholders and provide

stockholders with full and relevant information in considering how to vote.

       39.      With respect to BofA’s Discounted Cash Flow Analysis for AstraZeneca, the

Registration Statement fails to include: (i) the calculated terminal values for AstraZeneca, (ii)

BofA’s full basis for applying perpetual growth rates ranging from negative 3.0% to positive 1.0%

to the terminal year cash flows, (iii) the individual inputs and assumptions underlying the discount

rates ranging from 6.0% to 7.5%, (iv)AstraZeneca’s weighted average cost of capital, and (v) the

number of fully-diluted AstraZeneca ordinary shares outstanding. This information must be

disclosed to make the Registration Statement not materially misleading to Alexion stockholders

and provide stockholders with full and relevant information in considering how to vote.

       40.      The omission of the above-referenced material information renders the

Registration Statement false and misleading.

       41.      The above-referenced omitted information, if disclosed, would significantly alter

the total mix of information available to the Company’s stockholders.




                                                 8
            Case 1:21-cv-02067-SHS Document 1 Filed 03/10/21 Page 9 of 13




                                     CLAIMS FOR RELIEF

                                             COUNT I

   (AGAINST ALL DEFENDANTS FOR VIOLATIONS OF SECTION 14(a) OF THE
      EXCHANGE ACT AND RULE 14a-9 PROMULGATED THEREUNDER)

          42.    Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          43.    Rule 14a-9, promulgated by the SEC pursuant to Section 14(a) of the Exchange

Act, requires that proxy communications with stockholders shall not contain “any statement which,

at the time and in the light of the circumstances under which it is made, is false or misleading with

respect to any material fact, or which omits to state any material fact necessary in order to make

the statements therein not false or misleading.” 17 C.F.R. § 240.14a-9.

          44.    Defendants issued the Registration Statement with the intention of soliciting

stockholder support for the Proposed Transaction. Each of the Defendants reviewed and authorized

the dissemination of the Registration Statement and the use of their name in the Registration

Statement, which fails to provide critical information regarding, among other things, the financial

projections that were prepared by the Company and relied upon by the Board in recommending

the Company’s stockholders vote in favor of the Proposed Transaction.

          45.    In so doing, Defendants made untrue statements of fact and/or omitted material

facts necessary to make the statements made not misleading. By virtue of their roles as officers

and/or directors, each of the Individual Defendants were aware of the omitted information but

failed to disclose such information, in violation of Section 14(a). The Individual Defendants were

therefore negligent, as they had reasonable grounds to believe material facts existed that were

misstated or omitted from the Registration Statement, but nonetheless failed to obtain and disclose




                                                  9
           Case 1:21-cv-02067-SHS Document 1 Filed 03/10/21 Page 10 of 13




such information to stockholders as required.

          46.   The preparation of a Registration Statement by corporate insiders containing

materially false or misleading statements or omitting a material fact constitutes negligence.

Defendants were negligent in preparing and reviewing the Registration Statement. Defendants

were also negligent in choosing to omit material information from the Registration Statement or

failing to notice the material omissions in the Registration Statement upon reviewing it, which they

were required to do carefully.

          47.   The misrepresentations and omissions in the Registration Statement are material

to Plaintiff, who will be deprived of his right to cast an informed vote if such misrepresentations

and omissions are not corrected prior to the vote on the Proposed Transaction. Plaintiff has no

adequate remedy at law.

                                            COUNT II

          (AGAINST THE INDIVIDUAL DEFENDANTS FOR VIOLATIONS OF
                    SECTION 20(a) OF THE EXCHANGE ACT)

          48.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          49.   The Individual Defendants acted as controlling persons of the Company within

the meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions

as directors of the Company, and participation in and/or awareness of the Company’s operations

and/or intimate knowledge of the incomplete and misleading statements contained in the

Registration Statement filed with the SEC, they had the power to influence and control and did

influence and control, directly or indirectly, the decision making of the Company, including the

content and dissemination of the various statements that Plaintiff contends are materially




                                                 10
         Case 1:21-cv-02067-SHS Document 1 Filed 03/10/21 Page 11 of 13




incomplete and misleading.

       50.       Each of the Individual Defendants was provided with or had unlimited access to

copies of the Registration Statement and other statements alleged by Plaintiff to be misleading

prior to and/or shortly after these statements were issued and had the ability to prevent the issuance

of the statements or cause the statements to be corrected.

       51.       In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of the Company, and, therefore, is presumed to have had

the power to control or influence the particular transactions giving rise to the Exchange Act

violations alleged herein, and exercised the same. The omitted information identified above was

reviewed by the Board prior to voting on the Proposed Transaction. The Registration Statement at

issue contains the unanimous recommendation of the Board to approve the Proposed Transaction.

The Individual Defendants were thus directly involved in the making of the Registration

Statement.

       52.       In addition, as the Registration Statement sets forth at length, and as described

herein, the Individual Defendants were involved in negotiating, reviewing, and approving the

Merger Agreement. The Registration Statement purports to describe the various issues and

information that the Individual Defendants reviewed and considered. The Individual Defendants

participated in drafting and/or gave their input on the content of those descriptions.

       53.       By virtue of the foregoing, the Individual Defendants have violated Section 20(a)

of the Exchange Act.

       54.       As set forth above, the Individual Defendants had the ability to exercise control

over and did control a person or persons who have each violated Section 14(a) and Rule 14a-9, by

their acts and omissions as alleged herein. By virtue of their positions as controlling persons, these


                                                 11
         Case 1:21-cv-02067-SHS Document 1 Filed 03/10/21 Page 12 of 13




defendants are liable pursuant to Section 20(a) of the Exchange Act. As a direct and proximate

result of Individual Defendants’ conduct, Plaintiff will be irreparably harmed.

       55.      Plaintiff has no adequate remedy at law.

                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiff prays for judgment and relief as follows:

        A.      Preliminarily and permanently enjoining defendants and all persons acting in

 concert with them from proceeding with, consummating, or closing the Proposed Transaction;

        B.      In the event defendants consummate the Proposed Transaction, rescinding it and

 setting it aside or awarding rescissory damages;

        C.      Directing the Individual Defendants to disseminate a Registration Statement that

 does not contain any untrue statements of material fact and that states all material facts required

 in it or necessary to make the statements contained therein not misleading;

        D.      Declaring that defendants violated Sections 14(a) and/or 20(a) of the 1934 Act,

 as well as Rule 14a-9 promulgated thereunder;

        E.      Awarding Plaintiff the costs of this action, including reasonable allowance for

 Plaintiff’s attorneys’ and experts’ fees; and

        F.      Granting such other and further relief as this Court may deem just and proper.

                                         JURY DEMAND

        Plaintiff hereby requests a trial by jury on all issues so triable.

Dated: March 10, 2021
                                                 MOORE KUEHN, PLLC

                                                 /s/Justin Kuehn
                                                 Justin A. Kuehn
                                                 Fletcher W. Moore
                                                 30 Wall Street, 8th floor


                                                   12
Case 1:21-cv-02067-SHS Document 1 Filed 03/10/21 Page 13 of 13




                            New York, New York 10005
                            Tel: (212) 709-8245
                            jkuehn@moorekuehn.com
                            fmoore@moorekuehn.com

                            Attorneys for Plaintiff




                              13
